      Case 8-13-74930-ast   Doc 15   Filed 11/06/13   Entered 11/06/13 10:38:20




  UNITED STATES BANKRUPTCY COURT
  EASTERN DISTRICT OF NEW YORK
  QGM191
   IN RE:                             Chapter: 7

   ROY V. PFLEGER,                    Case No. 13-74930-AST

        Debtor(s).
                                      SUBSTITUTION OF ATTORNEY



       The undersigned hereby consent to the substitution of

  counsel for the Secured Creditor in the above entitled case, and

  all open New York Bankruptcy cases for which Gini E. Varughese,

  Esq., has a Notice of Appearance on behalf of Fein, Such, Crane,

  LLP referenced in attached Schedule “A”.



Dated: November 5, 2013                  Dated: November 5, 2013



 /S/Tammy Terrell Benoza, Esq.                   /S/Gini E. Varughese, Esq.
FEIN, SUCH & CRANE, LLP                         FEIN, SUCH & CRANE, LLP
By: TAMMY TERRELL BENOZA, ESQ.                  By: GINI E. VARUGHESE, ESQ.
Superseding Attorney(s)                         Withdrawing Attorney(s)
